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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 7

    BAYOU STEEL BD HOLDINGS, L.L.C.,                         Case No. 19-12153 (KBO)
    et al., 1

                              Debtors.                       (Jointly Administered)


    GEORGE L. MILLER, in his capacity as
    Chapter 7 Trustee for the jointly administered
    bankruptcy estates of Bayou Steel BD                     Adv. Proc. No.: 21-51013 (KBO)
    Holdings, L.L.C., et al.,
                                                             Re: Adv. D.I. 1
                              Plaintiff,

              v.

    BLACK DIAMOND CAPITAL
    MANAGEMENT, L.L.C.; BDCM
    OPPORTUNITY FUND IV, L.P.; BLACK
    DIAMOND COMMERCIAL FINANCE,
    L.L.C.; SAM FARAHNAK; PHIL
    RAYGORODETSKY; ROB
    ARCHAMBAULT; TERRY TAFT; and BOB
    UNFRIED,

                              Defendants.



                               OPENING BRIEF IN SUPPORT OF
                        INDEPENDENT DIRECTORS’ MOTION TO DISMISS




1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company
             (1984), BD Bayou Steel Investment, LLC, a Delaware limited liability company (1222), and BD
             LaPlace, LLC, a Delaware limited liability company (5783).
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        This is the opening brief of Defendants Rob Archambault, Terry Taft, and Bob Unfried

(collectively, the “Independent Directors”) in support of their motion to dismiss each of the claims

asserted against them in this adversary proceeding. For the convenience of the Court, and to

promote efficiency, the Independent Directors hereby adopt and incorporate by reference the legal

arguments and analyses of the other Defendants in support of their motion to dismiss filed on the

date hereof, to the extent relevant, as if fully set forth herein.

                                          INTRODUCTION

        The Complaint 1 brought by George L. Miller as chapter 7 Trustee (the “Plaintiff” or the

“Trustee”), seeks a judgment for more than $65 million and other relief on account of damages

allegedly suffered by the Debtors resulting from two prepetition transactions:

        1.      The $30 million Distribution paid by Debtor BD LaPlace to BDCM Opportunity
                Fund IV, L.P. (the “Equity Sponsor”) on March 17, 2017; and

        2.      The Debtors’ entry into a Subordinated Loan and Security Agreement on or about
                December 21, 2017 (referred to in the Complaint and herein as the BD Term Loan)
                and, in connection therewith, the Debtors’ grant of junior liens (referred to in the
                Complaint and herein as the BD Lien Grant) to the Equity Sponsor and an affiliate
                that provided the BD Term Loan financing to the Debtors.

See, e.g., Compl. ¶¶ 1, 62-69, 117-119.

        The Independent Directors, along with two individuals who were managing directors of

Black Diamond, were members of the Board of Directors of Bayou Steel BD Holdings, L.L.C.,

and are collectively referred to as the Director Defendants in the Complaint and herein. Compl.

¶¶ 20-24, 51-53. Of the thirteen claims asserted in the Complaint, the Trustee asserts the following

three claims against the Director Defendants, each predicated on the Distribution and the BD Lien

Grant (together, the “Challenged Transactions”):


1
        Capitalized terms not otherwise defined herein shall have the meanings provided in the
        Complaint.


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               •   Ninth Claim: Breach of Fiduciary Duty;

               •   Eleventh Claim: Corporate Waste; and

               •   Twelfth Claim: Equitable Subordination.

Compl. ¶¶ 203-211, 217-223.

       The Complaint includes only bare conclusory assertions that all Director Defendants

somehow “favored the interests of Black Diamond over those of the Debtors (and the Debtors’

creditors),” 2 yet fails to allege any specific conduct on the part of the Independent Directors with

respect to the Challenged Transactions. The Trustee cannot circumvent his burden to allege

specific facts connecting the Independent Directors to the Challenged Transactions by relying on

their mere membership on the Board or formulaic recitations to the elements of his claims. As a

result, the Complaint fails to state claims against the Independent Directors upon which relief can

be granted and must be dismissed with prejudice.

                                   STATEMENT OF FACTS 3

       A.      The Debtors.

       The Debtors here are Bayou Steel BD Holdings, L.L.C. (“Bayou Holdings”), BD Bayou

Steel Investment LLC (“Bayou Investment”), and BD LaPlace LLC (“BD LaPlace”). Compl. ¶ 1.

Bayou Holdings is the 100% owner of both Bayou Investment and BD LaPlace. Id. ¶ 47 The

Debtors “recycle[ed] scrap to produce a variety of structural steel, merchant bar, and specialty

products.” Id. ¶ 15.




2
       Compl. ¶ 57; see also, e.g., id. ¶¶ 208-210.
3
       The following facts are based on the allegations in Complaint (which are assumed to be
       true for purposes of this motion only), documents integral to the Complaint, and documents
       that are a matter of public record. In re W.J. Bradley Mortg. Capital, LLC, 598 B.R. 150,
       164 (Bankr. D. Del. 2019).


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       Each of the Debtors is a Delaware limited liability company (an “LLC”) established

pursuant to the Delaware Limited Liability Company Act, 6 Del. C. § 18-101, et seq. (the

“Delaware LLC Act”). An LLC is an alternative business entity that “combines corporate-type

limited liability with partnership-type flexibility and tax advantages.” Elf Atochem N. Am., Inc.,

v. Jaffari, 727 A.2d 286, 290 (Del. 1999). It is the policy of the Delaware LLC Act to provide

maximum effect to the principle of freedom of contract and to the enforceability of limited liability

company agreements, thus providing LLC members with broad discretion to establish the

governance of the LLC, including fiduciary duties. 4

       Consistent with those powers, Bayou Investment and BD LaPlace “exclusively vested”

their management powers in their sole member and manager, Bayou Holdings (formerly BD Long

Products). See Ex. A hereto (the “Bayou Investment LLC Agreement”) at § 4.1(a); Ex. B (the

“BD LaPlace LLC Agreement”) at § 4.1(a). These LLC agreements further provide that “[n]o

Member or Manager shall be liable for breach of any duty (including any fiduciary duty) provided

for in the Act or otherwise, other than to the extent not permitted to be eliminated under the Act.”

Ex. A at § 9.3; Ex. B at § 9.3.

       Bayou Holdings, in turn, established a board of directors (the “Board”) with the power to

“manage the business and affairs of the Company” consistent with the Delaware LLC Act and the

terms of the LLC Agreement. See Ex. C (the “Bayou Holdings LLC Agreement”) at § 3.1(a). The


4
       See Del. Code Ann. tit. 6, § 18-1101(b), (c), and (e). “Limited liability companies are
       creatures of contract, and the Delaware Limited Liability Company Act states that ‘[i]t is
       the policy of this chapter to give the maximum effect to the principle of freedom of
       contract.’” CSH Theatres, LLC v. Nederlander of San Francisco Associates, 2015 WL
       1839684, at *11 (Del. Ch. 2015) (citing Section 18-1101(b) of Delaware LLC Act). See
       also R & R Capital, LLC v. Buck & Doe Run Valley Farms, LLC, 2008 WL 3846318, at *4
       (Del.Ch. 2008) (“Delaware’s LLC Act leaves to the members of a limited liability company
       the task of arrang[ing] a manager/investor governance relationship; the Act generally
       provides defaults that can be modified by contract.”) (citations omitted).


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Bayou Holdings LLC Agreement contemplates that either the Board or “Class A Members holding

at least a majority of the outstanding Class A Units” may authorize company actions in accordance

with the Bayou Holdings LLC Agreement. 5 Id. at § 1.6(b). The Bayou Holdings LLC agreement

further specifies that “no Director, Officer or Member shall have any personal liability whatsoever

in such Person’s capacity as a Director, Officer or Member, . . . to the creditors of the Company or

to any other third party, for the debts, liabilities, commitments[,] or any other obligations of the

Company or for any losses of the Company.” Id. at § 3.9(a).

       B.      The Equity Sponsor Acquires the Business.

       In 2015, Defendant Black Diamond began exploring the potential purchase of several steel

processing facilities from ArcelorMittal. See, e.g., Compl. ¶¶ 30-31. Though a difficult time for

the steel industry, Black Diamond had engineered a turnaround of some of these assets a decade

earlier—a “home run,” by one account—and believed it could repeat its earlier success. Id. ¶¶ 28-

29, 34. Its diligence revealed that ArcelorMittal had “undermanaged” the plants, as it sought to

“quickly generate cash, at the expense of margin and profits.” Id. ¶¶ 35-42.

       Early the following year, the Equity Sponsor (i.e., Defendant Fund IV)—a private-equity

fund managed by Black Diamond—agreed to purchase two steel facilities for $90.2 million:

headquarter operations in LaPlace, Louisiana, and a facility in Vinton, Texas. Id. ¶ 43-48. The

purchase price was funded by a combination of equity and debt. Id. ¶ 46. The Equity Sponsor




5
       The signature page and Exhibit A (List of Members, Outstanding Units and Capital
       Contributions) to the Bayou Holdings LLC Agreement reflect that Bayou Steel BD
       Holdings II, L.L.C. is the sole Class A Member. See Ex. C at page 36 and Exhibit A
       thereto. The Independent Directors submit that it cannot reasonably be disputed that Bayou
       Steel BD Holdings II, L.L.C. is an intermediate holding company and ultimately owned by
       the Equity Sponsor.


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made an initial member contribution of $59.6 million and thereafter owned 100% of Bayou

Holdings, which in turn owned 100% of Bayou Investment and BD LaPlace. Id. ¶ 47.

       C.      Debtors Sell The Vinton Facility And Return Capital To Their Debt And
               Equity Holders.

       Black Diamond began to implement its turnaround plan. It recruited Alton Davis, an

experienced steel-industry executive, to serve as President and Chief Operating Officer. See

Compl. ¶¶ 36, 54-55. Black Diamond appointed as directors two of its own managing directors

(Defendants Farahnak and Raygorodetsky), as well as the three Independent Directors unaffiliated

with Black Diamond: (1) Bob Unfried (a former steel industry executive), (2) Rob Archambault

(a private-equity executive), and (3) Terry Taft (a former metals industry executive). Id. ¶¶ 52-

53.

       Black Diamond also pursued, for Debtors’ benefit, a sale of the Vinton facility. Id. ¶ 61-

62. In December 2016, it sold the Vinton facility to Kyoei Steel for $49 million. Id. ¶ 62.

       The sale proceeds were used to return capital to the Debtors’ debt and equity holders.

Compl. ¶¶ 62-65. To that end, Debtors reduced the balance on the Revolving Loan. Id. ¶ 63. In

addition, BD LaPlace paid a $30 million Distribution to the Equity Sponsor on March 17, 2017.

Id. ¶ 69-70. The Distribution had been contemplated prior to the sale of the Vinton facility (id. ¶

67) and was approved by both BoA and SunTrust under the Revolving Loan agreement, as

reflected in the First Amendment to the Revolving Loan entered into on March 16, 2017, id. ¶ 68.

There is no evidence reflecting the involvement of the Independent Directors in connection with

the Distribution (id. ¶ 79), and there are no resolutions or written consents of the Board with respect

to the Distribution or the First Amendment, id. ¶ 80.




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       D.      Debtors Continue To Struggle, And Equity Sponsor Provides Financing On
               Subordinated Basis To Support Liquidity Needs.

       Despite Black Diamond’s turnaround efforts, the Debtors’ business struggled. Id. ¶¶ 93-

113. By late 2017, Debtors were “running out of cash.” Id. ¶ 114. Black Diamond “explored

injecting cash into the business” through a subordinated loan. Id.

       In December 2017, the Debtors entered into that certain Subordinated Loan and Security

Agreement (referred to as the BD Term Loan) with the Equity Sponsor and Defendant Black

Diamond Commercial Finance, L.L.C. (referred to as BDCF) as lenders. Id. ¶ 117. The Term

Loan provided an initial $15 million credit line, drawable in increments of $5 million. Id. In

exchange for the Term Loan, the Debtors granted the Equity Sponsor and BDCF a continuing

security interest and lien on substantially all their property (referred to as the BD Lien Grant). Id.

¶ 119. Senior lenders BoA and SunTrust approved the additional borrowing pursuant to the

Revolving Loan agreement. Id. ¶¶ 115, 121.

       Notwithstanding the cash infusion, the “Debtors’ financial and operational difficulties

continued.” Id. ¶ 134. In a further effort to rehabilitate the Debtors, the Equity Sponsor and BDCF

agreed to provide additional capital on several occasions, which was “necessary for Debtors to

operate at the most basic level.” Id. ¶ 150. The BD Term Loan was twice amended to increase

the maximum commitment—first to $30 million (in January 2019), then to $40 million (in May

2019). Id. ¶¶ 122-123. By September 2019, the Debtors had drawn down $33 million on the BD

Term Loan. Id. ¶ 125. The “Debtors did not repay any portion of the BD Term Loan.” Id. ¶ 129.

       Despite the additional financing, the Debtors’ “operational and financial performance were

dismal” and BoA issued default notices under the Revolving Loan while simultaneously

undertaking increasing oversight of the Debtors in August through September 2019. Id. ¶¶ 150-




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52. On October 1, 2019, the Debtors filed voluntary chapter 11 petitions. Id. ¶ 153. On February

25, 2020, this Court entered an order converting the bankruptcy cases to chapter 7. Id. ¶ 11.

                                            ARGUMENT

I.      LEGAL STANDARD

        A.      The Trustee Must Plead A Plausible Claim To Relief.

        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable to this

proceeding by Rule 7012 of the Federal Rules of Bankruptcy Procedure, this Court may dismiss

an action that “fail[s] to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6),

Fed. R. Bankr. P. 7012.

        A motion to dismiss will be granted under Rule 12(b)(6) if the complaint does not “contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007)). Courts conduct a two-part analysis to determine whether a plaintiff has met their

burden. Fowler v. UMPC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009) (analyzing Twombly

and Iqbal). First, the factual and legal elements of a claim should be separated. The Court must

accept all of the complaint’s well-pleaded facts as true but may disregard any legal conclusions.

Id. Second, the Court must determine whether the facts alleged in the complaint are sufficient to

show that the plaintiff has a plausible claim for relief. Id. In other words, a complaint must do

more than allege the plaintiff’s entitlement to relief. Id. A complaint has to show such an

entitlement with its facts. Id. Where the well-pleaded facts do not permit the court to infer more

than the mere possibility of misconduct, the complaint has alleged—but it has not shown—that

the pleader is entitled to relief. Id. This ‘plausibility’ determination will be a context-specific task

that requires the reviewing court to draw on its judicial experience and common sense. Id.




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II.    ALL CLAIMS AGAINST THE INDEPENDENT DIRECTORS SHOULD BE
       DISMISSED.

       A.      The Trustee’s Breach Of Fiduciary Duty Claim Fails.

       As a threshold matter, the Trustee fails to establish that the Director Defendants owe

fiduciary duties to the Debtors. See Miller v. Anconnect, LLC, et al., (In re Our Alchemy, LLC),

Ch. 7 Case No. 16-11596(KG), Adv. No. 18-50633(KG), 2019 WL 4447541, at *10 (Bankr. D.

Del. Sept. 16, 2019) (“The Trustee must plead sufficient facts showing both the existence of a

fiduciary duty and that the fiduciary breached that duty.”). The Complaint treats the Debtors—

three different LLCs—as a singular entity with a singular governing board. See Compl. ¶ 51

(“Black Diamond had the right to appoint all members of the Debtors’ Board of Directors, and it

did so.”). Similarly, in conclusory fashion, the Complaint alleges that the “Director Defendants

owed fiduciary duties of loyalty and care to the Debtors.” Compl. ¶ 204. As such, the Trustee

does not even attempt to separately allege the existence of fiduciary duties on a company-by-

company and director-by-director basis as required by Delaware law.           See Off. Comm. of

Unsecured Creditors v. Comvest Grp. Holdings, LLC (In re HH Liquidation, LLC), 590 B.R. 211,

274 (Bankr. D. Del. 2018) (“Delaware courts are clear that a breach of fiduciary duty analysis must

occur on a company-by-company and director-by-director basis.”). For this reason alone, the

fiduciary duty claim should be dismissed.

       Furthermore, each of the Debtors’ LLC agreements 6 contain provisions that either

eliminate fiduciary duties or exculpate the Independent Directors such that the fiduciary duty

claims against them are barred. Therefore, the breach of fiduciary duty claims against the


6
       An LLC’s “Operating Agreement should be the point of departure for a Trustee claiming
       breaches of fiduciary duties.” In re W.J. Bradley Mortgage Capital, LLC, 598 B.R. 150,
       164, 166 (Bankr. D. Del., 2019) (finding LLC agreement to be integral document in
       connection with considering motion to dismiss fiduciary duty claim).


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Independent Directors must be dismissed.        See, e.g., In re Cornerstone Therapeutics Inc.,

Stockholder Litig., 115 A.3d 1173, 1775-76 (Del. 2015) (“A plaintiff seeking only monetary

damages must plead non-exculpated claims against a director who is protected by an exculpatory

charter provision to survive a motion to dismiss, regardless of the underlying standard of review

for the board’s conduct.”). 7

       Even assuming arguendo that the Independent Directors owe fiduciary duties to the

Debtors or are not otherwise immunized based on these exculpatory provisions, the Trustee fails

to specifically allege that the Independent Directors breached any fiduciary duties.             The

insufficiency of the pleading is fatal for multiple reasons. First, the Trustee does not allege any

specific facts as to any Independent Director authorizing the Distribution or BD Lien Grant.

Second, the Trustee admits that his claim against the Independent Directors is deficient with

respect to the Distribution. Finally, analogies to Delaware corporations do not salvage the

Trustee’s allegations.

               1.        The Trustee Does Not Allege Specific Facts.

       The Complaint is devoid of any facts connecting the Independent Directors to the

Challenged Transactions. This Court has previously discussed the necessity of alleging facts to

demonstrate a breach of fiduciary duties:

               A complaint fails to state a claim against an alleged officer for breach of
               fiduciary duty when it fails to allege facts demonstrating that (1) he took
               part in the challenged conduct and (2) failed to demonstrate the due care
               attendant to his particular office in doing so .... In re Bridgeport Holdings,
               Inc., 388 B.R. 548, 573 (Bankr. D. Del. 2008).

               To state a plausible claim for a breach of fiduciary duty, the plaintiff should
               allege specific conduct by each individual officer or director in authorizing
               the challenged transaction. In re PennySaver USA Publ’g, LLC, 587 B.R.

7
       See brief in support of other Defendants’ motion to dismiss for further discussion of this
       issue.


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               445, 465-66 (Bankr. D. Del. 2018) (holding that the facts a trustee must
               show to establish a fraudulent transfer include (1) the “specific facts as to
               which transactions a particular defendant authorized ... (2) what authority a
               particular defendant had to approve such transactions” and (3) the Trustee
               must not lump defendants together (without supplying specific facts as to
               each defendant’s wrongdoings).”; In re Conex Holdings, LLC, 514 B.R.
               405, 413 (Bankr. D. Del. 2014) (dismissing a breach of fiduciary claim for
               failing to plead with specificity about which individual defendant
               authorized the challenged transaction); In re Troll Commc'ns, LLC, 385
               B.R. 110, 120 (Bankr. D. Del. 2008) (dismissing a breach of fiduciary claim
               because the complaint was vague and lacked adequate detail about each
               defendant's conduct).

Our Alchemy, at *10.

       Here, the Complaint includes allegations concerning the planning and implementation of

the Distribution (Compl. ¶¶ 65-78), but fails to plead any facts demonstrating specific conduct on

the part of any of the three Independent Directors in connection with the Distribution. Similarly,

the Complaint includes allegations concerning the implementation of the BD Term Loan (Compl.

¶¶ 114-126), but fails to plead any facts demonstrating specific conduct on the part of any of the

three Independent Directors in connection with the BD Term Loan and BD Lien Grant.

       Instead, the Trustee improperly lumps all Director Defendants together in the conclusory

statements relied on for asserting the Ninth, Eleventh, and Twelfth Claims. See, e.g., Compl. ¶¶

1, 24, 57, 132, 203-211, 217-223, and subparts (d) and (e) of the request for relief at Section VI on

page 48. The Trustee also lumps the Director Defendants and the Equity Sponsor together in

conclusory allegations, either explicitly or effectively, by claiming that the Equity Sponsor aided

and abetted the Director Defendants’ alleged breaches of fiduciary duties. Compl. ¶ 132 (alleging

the Board was mere instrumentality of Equity Sponsor), ¶¶ 212-216. Those allegations do not

satisfy the standards discussed in Our Alchemy, requiring dismissal for failure to state a claim

against the Independent Directors.




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               2.      The Trustee Admits He Cannot Establish The Independent Directors
                       Violated Fiduciary Duties With Respect To The Distribution.

       With respect to the Distribution, the Trustee affirmatively pleads that the Independent

Directors were not involved in the authorization of the Distribution:

               79.     As for the other Director Defendants—Taft, Unfried, and
               Archambault—the records available to the Trustee reflect no involvement
               or participation on their part in the decision to authorize the Distribution
               and no inquiry as to the impact the Distribution would have on the Debtors.

               80. The Board did not execute any resolutions or written consents
               approving the First Amendment or the Distribution.

Compl. ¶¶ 79-80.

       In light of the fact that the Trustee is suing the Independent Directors for breaches of

fiduciary duties, these two paragraphs presuppose that either (i) the Challenged Transactions were

approved by each of the Independent Directors or (ii) the Independent Directors must have been

derelict by not participating in the Board’s consideration or otherwise inquiring as to the

Distribution’s impact. In light of the stringent pleading requirements for stating a viable fiduciary

duty claim as discussed in Our Alchemy, those propositions must be alleged with specific facts and

not inferred from the sheer fact that the Independent Directors were members of the Board.

               3.      Analogy To Corporations Does Not Salvage The Allegations.

       As discussed above, the Trustee makes no attempt to analyze the Debtors’ LLC

Agreements and apply the facts to the provisions establishing the governance mechanisms

established thereunder. As such, the inclusion of the Independent Directors as Defendants in this

adversary proceeding appears entirely dependent on their Board membership.

       The Delaware LLC Act permits “the drafters of an LLC agreement” to “create an LLC with

bespoke governance features or design an LLC that mimics the governance features of another

familiar type of entity.” Obeid v. Hogan, No. CV 11900-VCL, 2016 WL 3356851, at *6 (Del. Ch.



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June 10, 2016). The Delaware Court of Chancery has held that, “[i]f the drafters have opted for a

manager-managed entity, created a board of directors, and adopted other corporate features, then

the parties to the agreement should expect a court to draw on analogies to corporate law.” Id.

However, “[i]t is important not to embrace analogies to other entities or legal structures too broadly

or without close analysis, because ‘the flexibility inherent in the limited liability company form

complicates the task of fixing such labels or making such comparisons.’” Id. (citing Robert L.

Symonds, Jr. & Matthew J. O'Toole, Delaware Limited Liability Companies, § 1.04[C][1], at 1-

17 (2015)).

       Here, analogies to corporate law based on the establishment of a Board do not salvage the

Trustee’s deficient allegations against the Independent Directors merely because they were

members of the Board. As a preliminary matter, the Board established in the Bayou Holdings LLC

Agreement 8 is distinct from a corporation’s board of directors because: (i) the management

authority of Bayou Holdings’ Board is “subject to the ultimate control and authority of the Class

A Members,” which vested the Board with “powers and rights…by the [Delaware LLC] Act and

th[e] [LLC] Agreement with respect to the management and control of the Company.” (Ex. C at §

3.1(a)) and (ii) Class A Members holding a majority of Class A Units have management power to

authorize company action in accordance with the Bayou Holding Agreement (Ex. C. at § 1.6(b)). 9




8
       Only Debtor Bayou Holdings was established with a board of directors. Ex C. at § 3.1(a).
       Bayou Investment and BD LaPlace both vested management in their sole member and
       manager, Bayou Holdings. Ex. A at § 4.1(a), Ex. B at § 4.1(a).
9
       It is entirely reasonable to expect a private equity company investing tens of millions of
       dollars in a portfolio company wanting the flexibility to (i) delegate management powers
       to a board of directors made-up of both sponsor executives and unaffiliated individuals
       possessing relevant industry or operational experience while at the same time (ii)
       maintaining control over its investment.


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Any analysis of the intent of the drafters in establishing the Board in the Bayou Holdings LLC

Agreement must be informed by these provisions.

        More critically, even if the Board was intended to function exactly like a corporation’s

board of directors, the Trustee must still allege facts from which one could reasonably conclude

directors breached their fiduciary duty. 10 A claim based on a challenged decision of directors

requires facts demonstrating a grossly negligent process employed by the board of directors. See

Off. Comm. of Unsecured Creditors v. Kemeny, et al. (In re TEU Holdings, Inc.), 287 B.R. 26, 32

(Bankr. D. Del 2002). A claim based on dereliction, otherwise referred to as “oversight liability,”

requires facts demonstrating “that the directors knew they were not discharging their fiduciary

obligations or that the directors demonstrated a conscious disregard for their responsibilities such

as by failing to act in the face of a known duty to act.” In re Citigroup Inc. S’holder Derivative

Litig., 964 A.2d 106, 123 (Del.Ch. 2009) (emphasis in original) (discussing that showing of bad

faith is necessary to establish oversight liability).

        As discussed above, the Complaint fails to plead facts establishing conduct by the

Independent Directors connecting them to the implementation of the Challenged Transactions.

Likewise, the Complaint does not plead particularized facts that permit a reasonable inference that

the Independent Directors acted in bad faith such that oversight liability would be plausible. To

the contrary, the Bayou Holdings LLC Agreement reflects the concomitant management authority

of the Class A Member in its own right and the Complaint reflects exercise of that authority in

consultation with Debtors’ management. See, e.g., Compl. ¶67(iv) (management opining that cash

flow would permit $32.8 million draw).



10
        This presumes the Trustee pleads non-exculpated claims which is not the case here. See In
        re Cornerstone Therapeutics Inc., Stockholder Litig., 115 A.3d 1173, 1775-76 (Del. 2015).


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        In light of the foregoing, the breach of fiduciary duty claim against the Independent

Directors should be dismissed with prejudice.

        B.      The Trustee’s Corporate Waste Claim Fails.

        The Eleventh Claim of the Complaint asserts that the Challenged Transactions constituted

corporate waste and the Director Defendants are “jointly and severally liable for the damages

associated with [corporate waste].” Compl. at ¶¶217-219.

        In order to state a claim for corporate waste, a plaintiff needs to show that the company has

entered into a transaction “so one sided that no business person of ordinary, sound judgment could

conclude that the corporation has received adequate consideration.” In re the Walt Disney Co. Der.

Litig., 906 A.2d 27, 74 (Del. 2006). This is considered a stringent standard that is only met in the

“rare and unconscionable case where directors irrationally squander or give away corporate

assets.” Id.

        Since the corporate waste claim is premised on the approval of the Challenged Transactions

by each Independent Director, the Eleventh Claim as to the Independent Directors must be

dismissed with prejudice for the very same reasons set forth above with respect to the breach of

fiduciary duty claims.

        C.      The Trustee’s Equitable Subordination Claim Fails.

        Finally, in the Twelfth Claim, the Trustee seeks to equitably subordinate the proof of claims

filed by the Independent Directors on the basis that the Director Defendants “engaged and/or

knowingly participated in inequitable conduct with respect to the Debtors.” Compl. at ¶¶220-223.

        As this Court has stated:

                There is no standardized test for what constitutes “unfair conduct.” And
                courts look to the particularized facts before them to determine whether the
                conduct and injury demand equitable subordination. In cases of fiduciary
                or insider claimants, courts have found, based on the facts of the case before
                them, unfair conduct where the insider or fiduciary: (i) dominated and


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               exploited the debtor; (ii) violated the “rules of fair play and good
               conscience;” (iii) engaged in illegal or fraudulent conduct; (iv) breached
               fiduciary duties owed to the debtor, stockholders, or creditors; (v) used “the
               debtor as a mere instrumentality or alter ego;” (vi) breached a contract; or
               (vii) if a controlling stockholder, undercapitalized the debtor or capitalized
               the debtor with debt.

In re Ashinc Corporation, 629 B.R. 154, 217–18 (Bankr. D. Del. 2021).

       The Complaint makes conclusory allegations that “the Director Defendants and the Black

Diamond Entities engaged and/or knowingly participated in inequitable conduct with respect to

the Debtors, including: (i) causing the Debtors to make the Distribution to enrich the Black

Diamond Entities, and (ii) intentionally causing the Debtors to enter into secured loan agreements

which the Debtors could never hope to repay and which had the effect of elevating the Black

Diamond Entities to secured creditors in advance of Debtors’ bankruptcy filing.” Compl. at ¶ 221.

       Since the equitable subordination claim is premised on the approval of the Challenged

Transactions by each Independent Director, the Twelfth Claim as to the Independent Directors

must be dismissed with prejudice for the very same reasons set forth above with respect to the

breach of fiduciary duty and corporate waste claims.




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                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, and those set forth in the other Defendants’

motion to dismiss that are incorporated herein, the Independent Directors respectfully request that

the Court grant their motion to dismiss the Ninth, Eleventh, and Twelfth Claims with prejudice.


Dated: November 22, 2021                    BENESCH, FRIEDLANDER, COPLAN &
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